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13
                                UNITED STATES DISTRICT COURT
14                             CENTRAL DISTRICT OF CALIFORNIA
15                                   WESTERN DIVISION
16
   Consumer Financial Protection                 Case No.: 2:15-cv-9692-PSG (Ex)
17 Bureau,
18                                               Honorable Philip S. Gutierrez
                  Plaintiff,
19                                               PLAINTIFF’S OPPOSITION TO
                  v.
20                                               DEFENDANTS’ MOTION TO STAY THE
                                                 CASE PENDING DISPOSITION OF
21 D and D Marketing, Inc., d/b/a                APPEAL
22 T3Leads, et al.,
                                                 Hearing Date: July 17, 2017
23                                               Time          1:30 p.m.
                  Defendants.
24                                               Courtroom: 6A

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12     329 U.S. 495 (1947)......................................................................................................... 10
13    In re Facebook, Inc., IPO Sec. & Derivative Litig.,
14     986 F. Supp. 2d 524 (S.D.N.Y. 2014) ............................................................................... 9
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23    Nken v. Holder,
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1     Renegotiation Bd. v. Bannercraft Clothing Co.,
2      415 U.S. 1 (1974)............................................................................................................... 6
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1                                         INTRODUCTION
2           The Court should deny Defendants’ second attempt to delay this action. A stay is
3     no more warranted now than when the Court denied Defendants’ initial request three
4     months ago.
5           Following the Court’s denial of Defendants’ motions to dismiss, Defendants
6     sought an order certifying an interlocutory appeal of the Court’s decision and a
7     concomitant stay pending appeal. After receiving a total of seven submissions from the
8     parties, this Court certified one question for appeal and declined to stay the action.
9           In denying the request for a stay, the Court found that “the balance of equities tilts
10    in . . . favor” of the Bureau and the public.1 The Court “recognized that the public has an
11    interest in the ‘swift and prompt’ enforcement of laws that protect the integrity of
12    financial markets.”2 That interest is particularly acute where, as here, Defendants
13    continue to engage in the illegal conduct at issue. The Court also found that delay was
14    likely to substantially injure the Bureau and the public by compromising the effective
15    enforcement of this action. In contrast, Defendants failed to show that they would suffer
16    irreparable harm if the case proceeded. And finally, the Court denied the stay because
17    Defendants failed to show that they are likely to succeed on the merits of their
18    interlocutory appeal.
19          Defendants have renewed their request for a stay based on the fact that the Ninth
20    Circuit granted Defendants’ petition for permission to appeal, repeating a handful of
21    refurbished arguments offered the first time around. But the Ninth Circuit’s acceptance of
22    1
        Order Granting in Part and Den. in Part Defs.’ Mots. for Certification of Interlocutory
23    Appeal and Den. Defs.’ Request for a Stay Pending Appeal, at 11, CFPB v. D and D
24    Marketing, Inc., d/b/a T3Leads, et al. [hereinafter T3Leads], 2:15-cv-9692-PSG (Ex),
      ECF No. 76; CFPB v. Dmitry Fomichev [hereinafter Fomichev], 2:16-cv-2724-PSG (Ex),
25    ECF No. 55; CFPB v. Davit Gasparyan [hereinafter Gasparyan], 2:16-cv-2725-PSG
26    (Ex), ECF No. 68.
      2
        Id. (citing SEC v. Wilde, No. SACV 11-0315 DOC (AJWx), 2013 WL 2303761, at *8
27    (C.D. Cal. May 20, 2013)).
28                                                  1
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1     interlocutory review should not be a factor in determining whether to grant or deny a stay
2     under the relevant balancing test. Nor is there any reason to believe that this Court
3     assumed the Ninth Circuit would decline interlocutory review when denying the initial
4     stay request. Defendants have failed to show that relevant circumstances have changed
5     since the Court’s first denial or offer any new reason to disturb the Court’s initial
6     decision. Accordingly, the Court should deny Defendants’ renewed motion to stay
7     pending interlocutory appeal.
8                         RELEVANT PROCEDURAL BACKGROUND
9           The Consumer Financial Protection Bureau (Bureau) initiated three related actions:
10    CFPB v. D and D Marketing, Inc., d/b/a T3Leads, et al.; CFPB v. Dmitry Fomichev; and
11    CFPB v. Davit Gasparyan. The Bureau alleges that the Defendants in the three actions: D
12    and D Marketing, Inc., d/b/a T3Leads, Grigor Demirchyan, Marina Demirchyan, Dmitry
13    Fomichev, and David Gasparyan (collectively, Defendants), violated the Consumer
14    Financial Protection Act of 2010 (CFPA) by engaging in unfair and abusive acts and
15    practices or by substantially assisting those violations. On April 4, 2017, the Court
16    consolidated the three cases for pretrial purposes.
17          Each Defendant moved to dismiss under Federal Rule of Civil Procedure 12(b)(6).
18    The Court denied those motions in a consolidated order on November 17, 2016. Each
19    Defendant then moved for an order certifying an interlocutory appeal under 28 U.S.C. §
20    1292(b) of three of the Court’s holdings from the November 17, 2016 order and for a stay
21    pending appeal. On March 21, 2017, the Court deemed one question suitable for
22    interlocutory appeal to the Ninth Circuit—“[g]iven the Court’s holding that the CFPB is
23    unconstitutionally structured, what is the proper remedy for this constitutional defect?”—
24    and accordingly certified its order for interlocutory appeal. At the same time, it denied
25    Defendants’ request for a stay. Defendants then petitioned the Ninth Circuit for
26    permission to appeal under 28 U.S.C. § 1292(b); the Ninth Circuit granted that request on
27    May 17, 2017.
28                                                  2
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1           On May 19, 2017, counsel for Defendants T3Leads, Grigor Demirchyan, and
2     Marina Demirchyan telephoned Bureau counsel asking that the Bureau stipulate to a stay
3     of this action. The Bureau declined and requested a description of the bases for any
4     renewed motion to stay. Counsel responded simply that Defendants had described the
5     bases in their initial motion. Despite the fact that this telephone call does not satisfy the
6     requirements of L.R. 7-3, Defendants T3Leads, Grigor Demirchyan, and Marina
7     Demirchyan proceeded to file a motion to stay the case pending disposition of appeal on
8     May 26, 2017. Shortly thereafter, Defendants David Gasparyan and Dmitry Fomichev
9     filed briefs joining the motion to stay. Although these purported “joinders” are
10    substantive briefs, both Defendants failed to engage in any pre-filing discussion with the
11    Bureau, apparently relying on the L.R. 7-3 statement made by counsel for T3Leads,
12    Grigor Demirchyan, and Marina Demirchyan. The Bureau’s instant response treats
13    Defendants’ three filings as a single motion to stay.
14                               ARGUMENT AND AUTHORITIES
15          Defendants fail to identify any new circumstances or raise any new arguments to
16    alter the Court’s original decision against staying this case pending interlocutory appeal.
17    As the Court made clear three months ago: “Certification of an interlocutory appeal does
18    not automatically stay district court proceedings. Rather, a court may grant a stay in its
19    discretion upon consideration of the circumstances of the particular case.”3 Defendants
20    continue to bear the burden of showing that the balance of four factors weighs in favor of
21    a stay: (1) whether the stay applicant has made a strong showing that it is likely to
22    succeed on the merits; (2) whether the applicant will be irreparably injured in the absence
23    of a stay; (3) whether issuance of the stay will substantially injure the non-moving party;
24
25
      3
26     T3Leads, ECF No. 76; Fomichev, ECF No. 55; Gasparyan, ECF No. 68, at 10 (citing 28
      U.S.C. § 1292(b); Nken v. Holder, 129 S. Ct. 1749, 1761 (2009)) (internal quotation
27    marks and brackets omitted).
28                                                   3
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1     and (4) whether the stay is in the public interest.4 Where the government is the opposing
2     party, as here, the third and fourth factors merge.5 As set forth below, Defendants’
3     hodgepodge of purportedly new circumstances should not alter the Court’s original
4     determination.
5     1.    The Ninth Circuit’s acceptance of Defendants’ petitions for permission to
6           appeal should not alter the Court’s original calculus.
7           As an initial matter, Defendants’ contention that the case should be stayed simply
8     because the Ninth Circuit accepted interlocutory review is belied by the text of
9     § 1292(b).6 While certification and acceptance of interlocutory review are rare,7 § 1292 is
10    explicit that neither certification by a district court nor acceptance by an appellate court
11    alone warrants a stay of proceedings.8 Instead, a stay depends on the particular
12    circumstances of the case apart from the status of interlocutory review.
13          Defendants offer no explanation or support for their bald assertion that “the
14    calculus is now entirely different” in light of the Ninth Circuit’s acceptance of
15    interlocutory review.9 At the time the Court first engaged in its stay analysis, it was aware
16    that the Ninth Circuit might accept its certification of interlocutory appeal. Indeed,
17    certification here means that this Court determined that one question merited review by
18    the Ninth Circuit. Given that the Court made no mention that it considered the likelihood
19    of the Ninth Circuit’s acceptance or denial as a factor in its decision to deny the stay,
20    there is no reason this development should change the Court’s original calculus.
21
      4
        Id. (citations omitted).
22    5
        Wilde, 2013 WL 2303761, at *8 (citing Nken, 129 S. Ct. at 1762).
      6
23      Def. Davit Gasparyan’s Joinder in Mot. to Stay the Case Pending Disp. of Appeal, at 2-
24    3, T3Leads, ECF No. 97.
      7
        James v. Price Stern Sloan, Inc., 283 F.3d 1064, 1067 n.6 (9th Cir. 2002) (explaining
25    that even in the “rare circumstances” when a district court certifies an order for
26    interlocutory review, the court of appeals frequently rejects such appeals).
      8
        28 U.S.C. §1292(b).
      9
27      T3Leads, ECF No. 97, at 2.
28                                                  4
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1     2.    Defendants still fail to show a likelihood of success on the merits.
2           The Court previously determined that Defendants failed to show a likelihood of
3     success on the merits, even though the “question of the constitutionality of the CFPB
4     raises serious legal questions that merit appellate review.”10 While recognizing that
5     “courts are split as to the constitutionality of the CFPB and the proper remedy for a
6     constitutional violation of this sort,” the Court also recognized that no court “has found
7     both that the CFPB is unconstitutional and that the appropriate remedy for the
8     constitutional violation is dismissal of the CFPB’s enforcement action.”11 As such, the
9     Court held that the Defendants’ likelihood of success was “equivocal.”12
10          Defendants now offer a single specious argument in an attempt to tip this balance:
11    the mere fact that the Ninth Circuit accepted interlocutory review purportedly raises a
12    reasonable inference the appellate court will rule in Defendants’ favor.13 Putting aside
13    Defendants’ baseless assumption that appellate courts are more likely to rule in favor of
14    the party seeking interlocutory review, the circumstances of this case warrant no such
15    inference. This Court identified only one question suitable for review: “[g]iven the
16    Court’s holding that the CFPB is unconstitutionally structured, what is the proper
17    remedy for this constitutional defect?”14 But the Ninth Circuit has directed all parties to
18    address two questions: “(i) does the structure of the [CFPB] violate Article II of the
19    Constitution; [and] (ii) if the structure of the CFPB is unconstitutional, what is the proper
20    remedy for this constitutional defect?”15 Given that the Ninth Circuit has decided to
21    review this Court’s ruling that the structure of the Bureau is unconstitutional—thus,
22
      10
23       T3Leads, ECF No. 76; Fomichev, ECF No. 55; Gasparyan, ECF No. 68, at 11.
      11
24       Id.
      12
         Id.
      13
25       Defs.’ Not. of Mot. & Mot. to Stay the Case Pending Disp. of Appeal, at 5, T3Leads,
26    ECF No. 90.
      14
         T3Leads, ECF No. 76; Fomichev, ECF No. 55; Gasparyan, ECF No. 68, at 11-12.
      15
27       Order, 9th Cir., May 17, 2017, T3Leads, ECF No. 86.
28                                                  5
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1      potentially reversing the Court’s holding in Defendants’ favor—one might just as easily
2      infer that acceptance of interlocutory review indicates the Ninth Circuit is likely to rule in
3      the Bureau’s favor. Because there is no sound basis to conclude that the acceptance of
4      interlocutory review weighs in favor of either side, Defendants have failed to show that
5      their likelihood of success is any greater than before.16
6      3.    Defendants still fail to show irreparable harm.
7            Defendants’ renewed contention that they will suffer irreparable harm17 is nothing
8      more than a rehashing of arguments previously rejected by the Court in denying the first
9      motion to stay. Defendants again complain of the expense of defending the case,18 but as
10     the Court previously held, “‘[m]ere litigation expense, even substantial and unrecoupable
11     cost, does not constitute irreparable injury.’”19 Defendants again focus on the potential
12     liability they may face after full adjudication,20 but as the Court previously explained,
13     these attenuated “concerns are alleviated by ample opportunities for appeal and by the
14     case management tools available to the Court.”21
15
16
       16
17        Cf. In re Rail Freight Fuel Surcharge Antitrust Litig., 286 F.R.D. 88, 93 (D.D.C. 2012)
       (“It is a fool’s errand to try to predict what the court of appeals is likely to do before it
18
       acts or, absent explanation, to speculate on why it has made a certain procedural
19     decision.”).
       17
          T3Leads, ECF No. 90, at 3-4.
20     18
          Id.
       19
21        T3Leads, ECF No. 76; Fomichev, ECF No. 55; Gasparyan, ECF No. 68, at 11 (quoting
       Renegotiation Bd. v. Bannercraft Clothing Co., 415 U.S. 1, 24 (1974) and citing
22
       Castaneda v. Molinar, No. CV 07-7241 DDP (JCx), 2008 WL 9449576, at *13 (C.D.
23     Cal. May 20, 2008)).
       20
24        T3Leads, ECF No. 90, at 3-4.
       21
          T3Leads, ECF No. 76; Fomichev, ECF No. 55; Gasparyan, ECF No. 68, at 11. It
25     should be noted that all parties expect to move for summary judgment in this action. See
26     Joint Rule 26(f) Report, at 7-8, T3Leads, ECF No. 83. If summary judgment results in a
       final disposition, any appeals from final judgment could be consolidated with a pending
27     interlocutory appeal.
28                                                   6
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1              And Defendants’ new attempts to bolster the threat of injury from a judgment
2      against them are too speculative for consideration. To “show[] irreparable harm, the
3      injury to the party must be both certain and great; it must be actual and not theoretical.”22
4      Although Defendants claim that the Bureau is seeking “a ten-figure judgment,” this
5      number merely reflects Defendants’ own theoretical calculation based on the maximum
6      statutory penalties available under the CFPA.23 At this stage of the litigation, when
7      discovery has just begun, the amount of potential liability is not yet ascertainable. And, in
8      any event, the harm Defendants claim they would suffer from a judgment against them
9      provides no basis to stay the litigation. If a judgment is ultimately entered against them,
10     they can seek a stay of that judgment pending appeal.
11           Likewise, Defendants’ argument that, without a stay, the “mere threat of liability”
12     will “cause third parties (e.g., lenders, creditors, etc.) to avoid conducting business with
13     D&D, fearing that D&D [will] not be able to meet its future financial obligations to those
14     parties . . . ,”24 is pure speculation.25 Indeed, the complaint against D&D—describing the
15     potential statutory penalties under the CFPA—was filed in December 2015.26 Despite this
16     purported “threat of liability” pending for a year-and-a-half, Defendants do not claim that
17     D&D has lost any business opportunities as a result.
18
19
20
       22
21        Sottera, Inc. v. FDA, 627 F.3d 891, 898 (D.C. Cir. 2010) (citation and internal
       quotation marks omitted).
22     23
          See T3Leads, ECF No. 90, at 3-4.
       24
23        Id. at 4.
       25
24        Defendants reliance on Sottera, 627 F.3d at 898, to support their claim of theoretical
       harm is misplaced. There, plaintiff demonstrated irreparable harm when the FDA actually
25     refused entry of plaintiff’s products, which destroyed the firm’s ability to cover costs. As
26     cited above, Sottera stands for the proposition that to show irreparable harm an injury
       must be certain and not theoretical.
       26
27        Compl. for Violations of the CFPA, T3Leads, ECF No. 1.
28                                                   7
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1      4.    The public interest still weighs in favor of denying a stay.
2                a.     Judicial economy
3            Defendants renew their prior claim that a stay will serve the public interest by
4      promoting economy of time and effort for the Court and the parties.27 But Defendants’
5      revised arguments overstate the potential for economy and thus fail to alter the Court’s
6      original calculus.28
7            The Bureau does not dispute that a stay could preserve some resources if (1) the
8      Ninth Circuit ultimately determines both that the structure of the Bureau is
9      unconstitutional and that the remedy for such a violation is dismissal of the action, (2)
10     that holding is not disturbed by an en banc panel or the Supreme Court, and (3) the
11     Bureau’s structure remains unchanged so as to preclude refiling. But there is no reason to
12     think that any other result will promote economy for the Court or the litigants.
13           Defendants speculate that “even if the Ninth Circuit resolves the appeal in the
14     Bureau’s favor, the Ninth Circuit’s decision may nevertheless fundamentally shape the
15     legal standards that govern the remainder of this case.”29 While the Ninth Circuit has
16     jurisdiction under § 1292(b) to “address any issue fairly included within”30 the November
17     17, 2016 order, Defendants have not shown that the appellate court is likely to address
18     any issues other than the two identified by the Ninth Circuit.31 Rather, Defendants
19     concede that they have not yet determined on “which issues Defendants will elect to
20     27
          ECF No. 90, at 6; ECF No. 97, at 3-5; Def. Dmitry Fomichev’s Joinder in Mot. to Stay
21     the Action Pending Disp. of the Appeal, at 5, ECF No. 101.
       28
          T3Leads, ECF No. 76; Fomichev, ECF No. 55, Gasparyan, ECF No. 68, at 11 (finding
22
       that the public interest weighs against a stay); see also, e.g., Ferguson v. Corinthian
23     Colleges, Nos. SACV 11-0127 (AJWx), SACV 11-0259 DOC (AJWx), 2012 WL 27622,
24     at *4 (C.D. Cal. Jan. 5, 2012) (holding that “the lack of showing of likelihood of success
       on the merits, coupled with the public interests of promoting consumer protection and
25     stemming fraudulent business practices, favors denying the requested stay”).
       29
26        T3Leads, ECF No. 97, at 4.
       30
          Lee v. Am. Nat. Ins. Co., 260 F.3d 997, 1000 (9th Cir. 2001).
       31
27        See T3Leads, ECF No. 86.
28                                                   8
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1      focus their appellate briefing,” but they posit that it is “conceivable” the Ninth Circuit
2      “may clarify” three issues:
3                   (1) what test the Court is to apply in determining whether practices are
4                   “unfair” or “abusive” practices under the Act; (2) under what circumstances
5                   an individual may be held personally liable for “substantially assisting” in a
6                   violation of the Act; and (3) what level of knowledge is required for
7                   substantial assistance liability. 32
8      Not only is this conjecture, but even if raised by Defendants, it seems unlikely the Ninth
9      Circuit would rule on such questions in light of the incomplete factual record: appellate
10     courts are often reluctant “to clarify legal doctrine for the district court’s guidance” on an
11     “incomplete record.”33 Here, the Ninth Circuit is limited to considering issues “fairly
12     included” in the Court’s order denying Defendants’ motions to dismiss.34 In contrast, the
13     cases cited by Defendants as purported examples of appellate court guidance on the
14     application of the CFPA involved review of complete factual records.35
15           Finally, it is possible that the Ninth Circuit may still decline review despite
16     accepting Defendants’ petitions for interlocutory review. The Ninth Circuit has held that
17     it grants deference to, but is not bound by, a two-judge motions panel’s decision to grant
18
19
       32
          T3Leads, ECF No. 97, at 5.
20     33
          Koehler v. Bank of Bermuda Ltd., 101 F.3d 863, 866 (2d Cir. 1996) (reversing decision
21     to accept interlocutory review where the question of law turned on the factual record,
       which was incomplete at the motion to dismiss stage); see also, e.g., In re Facebook, Inc.,
22
       IPO Sec. & Derivative Litig., 986 F. Supp. 2d 524, 534 (S.D.N.Y. 2014) (stating that
23     “[a]llowing interlocutory review on an undeveloped record at the motion to dismiss stage
24     on a non-threshold issue” would “serve only to impede institutional efficiency”).
       34
          T3Leads, ECF No. 86.
       35
25        See CFPB v. Gordon, 819 F.3d 1179 (9th Cir. 2016) (appeal from the district court’s
26     order of summary judgment in favor of the CFPB); PHH Corp. v. CFPB, 839 F.3d 1
       (D.C. Cir. 2016), reh’g en banc granted, order vacated (Feb. 16, 2017) (petition for
27     review of an administrative action).
28                                                     9
               PLAINTIFF’S OPP. TO DEFS.’ MOT. TO STAY THE CASE PENDING DISPOSITION OF APPEAL
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1      a petition to pursue an interlocutory appeal.36 If the merits panel disagrees with the
2      motions panel and dismisses the appeal, a stay will have significantly delayed this case
3      without achieving any conservation of resources for the Court or parties.
4                b.    Prejudice to the Bureau
5            The Court previously determined that if this action is stayed pending appeal, the
6      Bureau “may be substantially injured” because of the likelihood that “documents will be
7      lost, memories will fade, and witnesses will become unavailable.”37 In response to this
8      concern, Defendants now contend that because the Bureau conducted a pre-filing
9      investigation into T3Leads’s business practices, it will not be prejudiced by a stay.38 But
10     Defendants misconstrue the nature of pre-filing investigations and civil discovery.
11           The Bureau’s pre-filing investigative process is not interchangeable with civil
12     discovery. Congress authorized the Bureau to conduct investigations relevant to the
13     enforcement of certain consumer-protection laws.39 Such investigations do “not initiate a
14     law-enforcement proceeding or even signify that any violation of law has been
15     committed.”40 Generally speaking, the purpose of an investigation is to determine
16     whether or not there is evidence that consumer-financial laws have been violated. Civil
17     discovery, on the other hand, begins after parties have identified specific claims and
18     defenses, and it allows parties “to narrow and clarify basic issues” and “ascertain[] the
19     facts, or information as to the existence or whereabouts of facts, relative to those
20     issues.”41 In light of the different purposes and functions, the information gathered during
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       36
          Couch v. Telescope Inc., 611 F.3d 629, 632 (9th Cir. 2010) (“Although we give
22
       deference to the ruling on the motions panel, we have an independent duty to confirm that
23     our jurisdiction is proper.”).
       37
24        T3Leads, ECF No. 76; Fomichev, ECF No. 55; Gasparyan, ECF No. 68, at 11 (citing
       Opp. 22:5-13) (internal quotation marks omitted).
       38
25        T3Leads, ECF No. 97, at 5-6.
       39
26        12 U.S.C. § 5511.
       40
          John Doe Co. v. CFPB, 849 F.3d 1129, 1131 (D.C. Cir. 2017).
       41
27        Hickman v. Taylor, 329 U.S. 495, 501 (1947).
28                                                  10
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1      a pre-filing investigation is not necessarily coextensive with the information relevant to
2      proving allegations in a complaint by a preponderance of the evidence.
3            Even if the Bureau’s pre-filing investigation were sufficient for purposes of
4      discovery here, a stay pending appeal still would likely compromise the Bureau’s
5      enforcement of this action. A civil appeal is governed by no time limits, and the Ninth
6      Circuit estimates that civil appeals are argued 12-20 months after the notice of appeal is
7      filed and decided 3-12 months after that.42 “A decision on petition for panel rehearing
8      may take a few months.”43 These estimates are necessarily approximate, as the “[Ninth
9      Circuit] has no time limit.”44 The Supreme Court is likewise unencumbered by time
10     limits. Such a long delay increases the chance that evidence will become stale or
11     obsolete, witnesses will no longer be available, and memories will fade irrespective of
12     whether the Bureau has collected some documents and taken some testimony.45
13           Finally, Mr. Gasparyan’s claim that the Bureau will not be prejudiced by a stay
14     because it is primarily seeking a monetary judgment against him is incorrect.46 In
15     addition to monetary relief, the Bureau is seeking injunctive relief, including permanently
16     enjoining Mr. Gasparyan from committing future violations of the CFPA or any
17     provision of federal consumer-financial law, as defined by 12 U.S.C. § 5481(14).47
18
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       42
          Ninth Circuit FAQs 17-18, https://www.ca9.uscourts.gov/content/faq.php (last visited
20
       June 22, 2017).
       43
21        Id., FAQ 19.
       44
          Id.
22     45
          See, e.g., Blue Cross & Blue Shield of Ala. v. Unity Outpatient Surgery Ctr., Inc., 490
23     F.3d 718 (9th Cir. 2007) (“Delay ‘inherently increases the risk that witnesses’ memories
24     will fade and evidence will become stale.’”); United States v. Goddard & Duffy, LLP,
       553 F. Supp. 2d 1164, 1169 (C.D. Cal. 2008) (“As more delay occurs, witnesses may die,
25     leave the country, or otherwise become unavailable for interview, memories will fade,
26     and documents may no longer exist.”).
       46
          T3Leads, ECF No. 97, at 6 n.2.
       47
27        Am. Compl. for Violations of the CFPA, at 18, Gasparyan, ECF No. 37.
28                                                  11
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1                                           CONCLUSION
2            For the aforementioned reasons, the Court should deny Defendants’ Motion to Stay
3      the Case Pending Disposition of Appeal.
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5      Dated: June 26, 2017                   Respectfully submitted,
6
7                                              /s/ Jade A. Burns

8                                             Attorneys for Plaintiff
9                                             Consumer Financial Protection Bureau

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              PLAINTIFF’S OPP. TO DEFS.’ MOT. TO STAY THE CASE PENDING DISPOSITION OF APPEAL
